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3                              UNITED STATES DISTRICT COURT
4                                    DISTRICT OF NEVADA
5                                               ***
6     THOMAS WRAY HERNDON,                            Case No. 3:20-cv-00489-MMD-CLB
7                                 Petitioner,                       ORDER
             v.
8
      DWIGHT NEVEN, et al.,
9
                              Respondents.
10

11

12         Good cause appearing, it is hereby ordered that Petitioner Thomas Herndon’s

13   unopposed third motion for enlargement of time (ECF No. 27) is granted. Herndon has

14   until January 3, 2022, to file an amended petition for writ of habeas corpus.

15         DATED THIS 22nd Day of November 2021.

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                                                MIRANDA M. DU
18                                              CHIEF UNITED STATES DISTRICT JUDGE
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